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12

13
                                 UNITED STATES DISTRICT COURT
14
                  NORTHERN DISTRICT OF CALIFORNIA - SAN JOSE DIVISION
15

16
     APPLE INC., a California corporation,         Case No.   11-cv-01846-LHK
17
                          Plaintiff,               EXHIBIT 4 TO THE
18                                                 DECLARATION OF DR. KARAN
            v.                                     SINGH, PH.D.
19
     SAMSUNG ELECTRONICS CO., LTD., a
20   Korean business entity; SAMSUNG
     ELECTRONICS AMERICA, INC., a New York
21   corporation; SAMSUNG
     TELECOMMUNICATIONS AMERICA, LLC, a
22   Delaware limited liability company,
23                        Defendants.
24
                                 MANUAL FILING NOTIFICATION
25

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27

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     EXHIBIT 4 11-cv-01846-LHK
     sf-3153145
     Case 5:11-cv-01846-LHK Document 1024-6 Filed 06/01/12 Page 2 of 2



 1          Regarding:      EXHIBIT 4 to the DECLARATION OF Dr. Karan Singh, PH.D

 2

 3         This filing is in paper or physical form only, and is being maintained in the case file in the

 4   Clerk’s office. If you are a participant on this case, this filing will be served in hard-copy shortly.

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14   _____ Conformance with the Judicial Conference Privacy Policy (General Order 53)

15   _____ Other (description):

16

17   Dated: May 31, 2012                            MORRISON & FOERSTER LLP
18

19                                                  By: /s/ Michael Jacobs
                                                          Michael Jacobs
20
                                                            Attorneys for Plaintiff
21                                                          APPLE INC.
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     EXHIBIT 4 11-cv-01846-LHK                                                                              1
     sf-3153145
